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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA                                       L
                                       Alexandria Division
                                                                                        JAN I 6 ail9

 UNITED STATES OF AMERICA                                                            CLERK. U.S. DISTRICT COURT
                                                                                        ALEXANDRIA. VIRGINIA
                                                          UNDER SEAL
                V.

                                                          Case No. 1:19-mj-26
 ANDREW W.CHEVEERS,

                Defendant.


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Lloyd Rawls, being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND BACKGROUND


       1.      I submit this affidavit in support ofa criminal complaint and arrest warrant charging

ANDREW W. CHEVEERS, a former Information Technology ("IT") contractor for the U.S.

Department of State, who knowingly and willfully did embezzle, steal, purloin, or convert to his

use or the use of another property belonging to the Office of the Inspector General of the U.S. .

Department of State, located within the Eastern District of Virginia, from in or about July 2016

through November 2016, both dates being approximate, to wit: several Microsoft Surface Pro

tablet devices,each having a value in excess of$1,000,in violation ofTitle 18, United States Code,

Section 641.


       2.      I have been employed as a Special Agent with the Office ofthe Inspector General

of the U.S. Department of State ("State GIG") since October of 2008. As a State OIG Special

Agent, I am responsible for investigating federal criminal violations, including violations of Title

18, United States Code, Section 641 (theft ofpublic money, property or records), among others.

       3.      In April 2001, I graduated firom the Federal Law Enforcement Training Center

where I received training in how to conduct criminal and financial investigations and in federal
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search and seizure procedures. I have since participated in complex criminal fraud investigations

with agents from other federal law enforcement agencies, including the Federal Bureau of

Investigtion, Defense Criminal Investigation Services, U.S. Department of State Diplomatic

Security Service, and U.S. Agency for International Development OIG.                  During these

investigations, I also participated in the execution ofsearch warrants and arrest warrants related to

a number of criminal violations.

       4.      The facts and information contained in this affidavit are based on my training and

experience, personal knowledge, my observations during the course ofthis investigation, and the

observations of other law enforcement personnel and witnesses involved in this investigation.

Additionally, State OIG has obtained information pursuant to subpoenas and search warrants

authorized by this Court. This affidavit is being submitted for the limited purpose of obtaining a

criminal complaint and arrest warrant. As a result, it does not include each and every fact observed

by me or known to the government. When I assert that a statement was made by an individual,

that statement is described in substance and in part, but my assertion is not intended to constitute

a verbatim recitation ofthe entire statement.

                          RELEVANT STATUTORY PROVISIONS


       5.      Title 18, United States Code, Section 641, provides in relevant part that any

individual who -

               [EJmbezzles,steals,purloins,or knowingly converts to his use or the use ofanother,

               or without authority, sells, conveys or disposes of any record, voucher, money, or

               thing of value of the United States or of any department or agency thereof, or any

               property made or being made under contract for the United States or any department

               oragency thereof...
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Shall be fined under this title or imprisoned not more than ten years, or both, so long as "the value

ofsuch property in the aggregate, combining amounts from all the counts for which the defendant

is convicted in a single case" exceeds the sum of$1,000. The statute defines the word "value" as

"face, par, or market value, or cost price, either wholesale or retail, whichever is greater."

                                       PROBABLE CAUSE


       6.      For the reasons set forth below,I submit that there is probable cause to believe that

ANDREW W. CHEVEERS,a former IT contractor for the State Department, violated 18 U.S.C.

§ 641 by stealing several Microsoft Surface Pro tablet devices from the State Department,

specifically State GIG. I submit that there is also probable cause to believe that ANDREW W.

CHEVEERS violated 18 U.S.C. § 641 by selling the stolen Microsoft Surface Pro tablet devices

through his use oftelephone, email, Craigslist, PayPal, and eBay, accounts in order to profit from

his fraudulent scheme.


        7.     In or about May 2016, State GIG purchased 440 Microsoft Surface Pro tablet

devices (computers) with 512 GB solid-state drive (SSD) storage capacity, 16 GB RAM, and

Windows 10 Enterprise compatibility, for $2,021 each (hereafter, the "State GIG Devices").

        8.     The newly acquired State GIG Devices were delivered to State GIG's office in

Arlington, Virginia, which is located within the Eastern District of Virginia. In or about May

2016, State GIG's Information Technology Division("GIG IT")began configuring the State GIG

Devices prior to distributing them to State GIG employees. Contractors worked with GIG IT

personnel on this task.

        9.     Gne of the contractors who assisted in configuring the State GIG Devices,

ANDREW W.CHEVEERS("CHEVEERS"),worked with GIG IT in Arlington, Virginia from on

or about July 25,2016 to on or about November 23,2016. During his time working as a contractor
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for the State Department, CHEVEERS held a security clearance that allowed him to access certain

Sensitive But Unclassified information.


       10.     In or about February 2017, State OIG's Administration Office ("AO") conducted

its annual inventory of State OIG property. The AO discovered that 16 of the 440 State OIG

Devices, which State OIG had configured but not yet assigned to State personnel, were missing.

After diligently searching its offices in Arlington, Virginia, State OIG opened an investigation into

the suspected theft ofthe missing State OIG Devices.

       11.     On April 4, 2017,1 interviewed the OIG IT Helpdesk Manager, who stated that he

had contacted CHEVEERS and asked if he had any of the missing State OIG Devices because

CHEVEERS no longer worked at State OIG. CHEVEERS said no.

       12.     Each State OIG Device has a unique serial number located beneath the kickstand,

which State OIG previously recorded prior to configuration. OIG AO personnel also assigned

each State OIG Device an OIG property number for inventory purposes, and affixed a sticker with

the device's OIG property number on the back of each State OIG Device.

       13.     State OIG attempted to locate the missing State OIG Devices through their serial

numbers. During the course of the investigation. State OIG issued a subpoena to Microsoft

Corporation ("Microsoft"), the manufacturer of the Surface Pro devices at issue, to determine

whether any of the missing State OIG Devices had been registered with Microsoft. In response,

Microsoft identified two such registered devices with serial numbers belonging to missing State

OIG Devices. Microsoft also provided the subscriber information collected during the registration

ofthese devices.

       14.     According to Microsoft's business records, an individual identified as M.C.

registered a State OIG Device bearing serial number 055031760553, and an individual identified
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as K.G. registered a State OIG Device bearing serial number 054937760553. During registration,

K.G. provided his name, email address, and state of residence, and M.C. provided an alias he has

used elsewhere, email address, phone number, and address. Using this information, I contacted

both individuals. M.C.and K.G.are not State Department employees or contractors,nor have they

ever been.


       15.     On August 30, 2017,1 interviewed M.C. via telephone. M.C. stated that between

August 5,2016 and August 26, 2016, he visited a friend in the Washington, D.C. area, and while

he was there, he purchased 10 to 15 Microsoft Surface Pro computers through the Intemet using

Craigslist with prices ranging from $1,000 to $1,300 for each device. M.C. said that he paid cash

for each of these devices. However, based on information obtained through search warrants, as

discussed below, I believe this statement to be false. M.C. further stated that he communicated

via text message with the Craigslist sellers using a Google Voice number, which business records

obtained from Google show is associated with one of M.C.'s Google email addresses. M.C. noted

that the specifications ofthe Microsoft Surface Pro devices were unusual, so there were likely few

Craigslist posts advertising devices with these specifications during August of2016.

       16.     Following the interview with M.C., State OIG issued a subpoena to Craigslist for

August 2016 posts in the Washington,D.C. area advertising Microsoft Surface Pro devices for sale

with specifications matching those of the State OIG Devices (e.g., 512 GB SSD). Craigslist's

response revealed a post that advertised Microsoft Surface Pro devices with specifications

matching those ofthe missing State OIG Devices that was created on August 10,2016 and renewed

multiple times during the month of August. The post advertised a"New Microsoft Surface Pro 4

Core i5-16GB -512GB w/ extras."           The author of that post used the email accoimt

drew0725@gmail.com as the "reply to" address for the post, or address where interested users
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could contact the author.    The author provided the telephone number (301) 379-9830 to

authenticate his Craigslist user account. Business records obtained from Sprint Corporation

("Sprint") revealed that CHEVEERS is the subscriber of(301) 379-9830. Moreover, business

records obtained from Google revealed that drew0725@gmail.com is registered to, and has been

used by, CHEVEERS.

       17.     Business records obtained from Google also revealed multiple communications

between CHEVEERS,using the telephone number(301)379-9830, and M.C.,using the telephone

number M.C. provided to me during the August 30, 2017 interview. Below is a summary ofsuch

telephone calls, all of which occurred shortly after the above-described August 10,2016 Craigslist

post authored by CHEVEERS was published.

             Date of Call         Call Time/          Call From           Call To
                                  Duration (sec.)

             8/16/16              23:55hrs/44         M.C.               (301)379-9830
                                                                          CHEVEERS


             8/16/16              23:57hrs/194       (301)379-9830        M.C.
                                                      CHEVEERS


             8/22/16              18:36hrs/381       (301)379-9830        M.C.
                                                      CHEVEERS



       18.     Additionally, business records obtained from Sprint revealed that beginning on or

about August 16,2016,CHEVEERS,using(301)379-9830,exchanged hundreds oftext messages

with M.C.,using the phone number that M.C.provided to me during the August 30,2017 interview

and a Google Voice number associated with one of M.C.'s other email addresses.

       19.     Search warrant returns for M.C.'s Google email and Google Voice accounts

revealed numerous text message communications on August 16-17, 2016, August 22, 2016, and

August 29-30,2016 between M.C. and CHEVEERS. In these messages, CHEVEERS arranged to

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sell multiple Microsoft Surface Pro devices to M.C.,and in at least one instance, M.C. arranged to

pay CHEVEERS electronically.

       20.     Specifically, during a text message exchange on August 16, 2016, M.C. agreed to

purchase a"surface"from CHEVEERS and they arranged to meet at a coffee shop in College Park,

Maryland. Based on my experience and knowledge of this investigation, I believe CHEVEERS

sold a State OIG Device to M.C. during this meeting.

       21.    During a text message exchange on August 17, 2016, CHEVEERS and M.C.

discussed meeting again, this time at the Ballston Metro Station in Arlington, Virginia. On that

day, both individuals text messaged each other when they arrived at the location. Based on my

experience and knowledge ofthis investigation,I believe that CHEVEERS sold M.C.another State

OIG Device during this meeting.

       22.    During a text message exchange on August 22, 2016, M.C. asked CHEVEERS

"You have another surface for sale?" M.C. further stated that he "need[ed] 1 more" and asked if

CHEVEERS would sell at the same price. CHEVEERS responded,"I'm tryna get more for this

one. Since it's the last one I'll have for a while." CHEVEERS subsequently text messaged the

email address "acheveers@gmail.com" to M.C., who replied to CHEVEERS via text,"Also that

email address is correct? Don't want the money going to the wrong person lol." CHEVEERS

replied, "Yea man. It matches with my name too so you know I'm no fraud. Lol." Business

records obtained from PayPal confirmed that M.C. paid CHEVEERS approximately $1,130 on

August 22, 2016.

       23.    Additionally, documents obtained pursuant to search warrants authorized for

CHEVEERS'email accounts and PayPal records indicate that M.C. made a number of additional

payments to CHEVEERS in September, November, and December of 2016, as well as February
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of 2017. Based on my experience and knowledge of this investigation, I believe that M.C. made

these payments in exchange for additional State OIG Devices.

       24.     On September 26,2016, M.C. paid CHEVEERS approximately $1,175 via PayPal.

On November 18, 2016, M.C. sent CHEVEERS $1,100 using Square Cash, which is a mobile

payment service. The payment was "for sp4, case, 2 pens, keyboard." Based on my review of

M.C.'s other communications, I believe that "sp4" is short for "Surface Pro 4." On November 21,

2016, M.C. again sent CHEVEERS $1,100 using Square Cash. On November 22, 2016;

November 23, 2016; December 22, 2016; and February 11, 2017, M.C. sent CHEVEERS $1,100

per transaction using Google Wallet, which is a peer-to-peer payment service that allows

individuals to send and receive money from a mobile device or computer.

       25.     As described above, business records obtained from Microsoft revealed that an

individual identified as K.G. registered a Microsoft Surface Pro bearing the serial munber of a

State OIG Device. On September 14, 2017,1 interviewed K.G. via telephone. He stated that on

or about November 26, 2016, he purchased his Microsoft Surface Pro from the usemame

"surface_store" on eBay for $1,490. K.G. also stated that a sticker on the back ofthe Device bore

the following letters and numbers: OIG023510. This number matches the OIG property number

associated with the State OIG Device that K.G. registered, bearing the serial number

054937760553. I later took possession ofthis computer and confirmed that it is, in fact, a missing

State OIG Device.


       26.     On September 27, 2017, State OIG issued a subpoena to eBay for records

concerning the usemame "surface_store." Subpoena retums from eBay revealed that surface_store

was the usemame for a virtual storefront named "The Surface Store" and that the email accounts

associated with surface store were or are used by M.C. Business records obtained from eBay



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further revealed that surface_store sold a number of Microsoft Surface Pro computers that had

specifications matching those ofthe missing State OIG Devices.

       27.      Business records obtained from eBay identified the names and email addresses of

many of the buyers who purchased Microsoft Surface Pro computers from surface_store with

specifications matching those of the missing State OIG Devices. Using that information, I

contacted those individuals.     Communications with the buyers revealed that at least four

individuals(beyond K.G.)had purchased a missing State OIG Device from M.C., who was doing

business imder the eBay usemame surface_store.

             a. On October 23, 2017, I interviewed E.S. via telephone. E.S. stated that he had

                purchased a Microsoft Surface Pro bearing the serial number of what I confirmed

                is a missing State OIG Device. He purchased the device on or about September 1,

                2016 for $1,515. E.S. mailed the device to State OIG on or about January 12,2018.

             b. On October 20,2017,1 interviewed J.G via telephone. J.G. confirmed that he had

                purchased a Microsoft Surface Pro on or about November 21, 2016 for

                approximately $1,450, but did not know the device's serial number because he had

                taken the device to a Microsoft Store in Boston, Massachusetts for repairs, and the

                store kept the device after issuing him a payment under the device's warranty.

                According to Microsoft personnel, J.G. brought a Microsoft Surface Pro bearing

                the serial number of what I confirmed is a missing State OIG Device to the store

                on or about May 5,2017, and the store destroyed the computer.

             c. On November 8,2018,1 interviewed C.J. C.J. stated she had purchased a Microsoft

                Surface Pro bearing the serial number of what I confirmed is a missing State OIG
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                Device. She purchased the device on or about October 30, 2016 for $1,450. C.J.

                returned the device to State GIG on November 8, 2018.

             d. On October 23, 2018, I interviewed B.H. B.H. stated that he had purchased a

                Microsoft Surface Pro bearing the serial number of what I confirmed is a missing

                State OIG Device. He purchased the device on November 22, 2016 for $1,580.

                B.H. procured the device for a client, who provided photographs ofthe device that

                I have reviewed,including photographs that depict the serial number and State OIG

                property number.

       28.      In addition to selling State OIG Devices to M.C.,there is probable cause to believe

that CHEVEBRS sold a State OIG Device directly to an individual identified as K.W. Business

records obtained from PayPal indicate that on November 7,2016,CHEVEERS received a payment

of approximately $1,475 from K.W. The payment was for an item sold on eBay titled "New

Microsoft Surface Pro 4." I interviewed K.W.via telephone on November 29,2018 and December

7, 2018. During these interviews, K.W. confirmed that she purchased a Microsoft Surface Pro

computer on eBay with a serial number matching the serial number ofa missing State OIG Device.




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                                         CONCLUSION


       29.     Based on the facts set forth above, I submit that this affidavit supports probable

cause for a criminal complaint and arrest warrant for ANDREW W.CHEVBERS,who from in or

about July 2016 through November 2016, both dates being approximate, knowingly and willfully

stole several Microsoft Surface Pro tablet devices, each having a value in excess of$1,000, from

the Office of the Inspector General of the U.S. Department of State, located within the Eastem

District of Virginia, in violation of Title 18, United States Code, Section 641.




                                                       Joyd Rawls
                                                      Special Agent
                                                      Office ofInspector General
                                                      U.S. Department of State



                                          10?.
Sworn and subscribed to before me this Ify day of January, 2019



                ./s/
   John F. Anderson
   United States Magistrate Judge
The Honorable John F. Anderson
United States Magistrate Judge

Alexandria, Virginia




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